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         FAQ: Which Courier Do You Use and Where
         Do You Ship?
         Learn where Mixtiles can ship to and who our courier is.

         Updated over a week ago


         Great news! We deliver Mixtiles using UPS to bring your beautiful photo tiles right to your
         doorstep! 📦


         Countries We Ship To
         We’re thrilled to say that we ship Mixtiles to almost every corner of the globe. 🌍 Take a look
         at the table below for a complete list of countries we ship to!




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           Albania

           Angola

           Anguilla

           Antarctica

           Antigua and Barbuda

           Argentina

           Aruba

           Australia

           Austria

           Bahamas

           Bahrain

           Bangladesh

           Barbados

           Belgium

           Belize

           Benin

           Bermuda

           Bhutan

           Bolivia

           Bosnia and Herzegovina

           Botswana

           Bouvet Island

           British Indian Ocean Territory

           Brunei Darussalam
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              u e      a ussa a

           Bulgaria

           Burkina Faso

           Burundi

           Canada

           Cayman Islands

           Chad

           Chile

           Christmas Island

           Cocos (Keeling) Islands

           Congo

           Costa Rica

           Croatia

           Cyprus

           Czech Republic

           Denmark

           Dominica

           Dominican Republic

           Ecuador

           Egypt

           El Salvador

           Equatorial Guinea

           Eritrea

           Estonia

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           Ethiopia

           Finland

           France

           French Guiana

           French Polynesia

           French Southern Territories

           Gabon

           Gambia

           Germany

           Gibraltar

           Greece

           Grenada

           Guadeloupe

           Guatemala

           Guyana

           Haiti

           Heard Island and Mcdonald Islands

           Holy See (Vatican City State)

           Honduras

           Hong Kong

           Hungary

           Iceland

           Indonesia

           Ireland
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           Israel

           Italy

           Jamaica

           Japan

           Jordan

           Kenya

           South Korea

           Latvia

           Lesotho

           Liechtenstein

           Lithuania

           Luxembourg

           Macao

           Madagascar

           Malawi

           Malaysia

           Maldives

           Mali

           Malta

           Martinique

           Mauritius

           Mexico

           Monaco

           Montserrat
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           Montserrat

           Morocco

           Mozambique

           Namibia

           Netherlands

           New Zealand

           Nicaragua

           Niger

           Nigeria

           Norfolk Island

           Norway

           Oman

           Pakistan

           Panama

           Paraguay

           Peru

           Philippines

           Pitcairn

           Poland

           Portugal

           Puerto Rico

           Qatar

           Reunion

           Romania

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           Rwanda

           Saint Kitts and Nevis

           Saint Lucia

           Saint Pierre and Miquelon

           Saint Vincent and the Grenadines

           San Marino

           Saudi Arabia

           Senegal

           Singapore

           Slovakia

           Slovenia

           South Africa

           South Georgia and the South Sandwich Islands

           Spain

           Sri Lanka

           Svalbard and Jan Mayen

           Eswatini

           Sweden

           Switzerland

           Taiwan

           United Republic of Tanzania

           Thailand

           Timor-Leste

           Tokelau
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           Trinidad and Tobago

           Turks and Caicos Islands

           Uganda

           United Arab Emirates

           United Kingdom

           United States of America

           United States Minor Outlying Islands

           Uruguay

           Venezuela

           Virgin Islands, British

           Virgin Islands, U.S.

           Western Sahara

           Zambia

           Åland Islands

           Bonaire, Sint Eustatius and Saba

           Curaçao

           Guernsey

           Isle of Man

           Jersey

           Montenegro

           Saint Barthélemy

           Saint Martin (French part)

           Serbia

           Sint Maarten (Dutch part)
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           Sint Maarten (Dutch part)

           South Sudan

         Questions?
         If you have any more questions or need help with your order, feel free to reach out! We’re
         here to make your Mixtiles experience as smooth as possible. 😊


         Email: hi@mixtiles.com
         Live Chat: Available on our website or app



                                                       Did this answer your question?


                                                              😞😐😃




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